                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
TRACY LYNN PETTY                         )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 288).

       The defendant pled guilty to Count One of the first superseding indictment on July 8,

2005, charging her with conspiracy to possess with intent to distribute 50 to 150 grams of cocaine

base. (Doc. No. 254: Plea Agreement; Doc. No. 266: Acceptance and Entry of Guilty Plea).

Pursuant to § 3145(b), the defendant seeks review of the magistrate judge's detention order

entered October 12, 2004. (Doc. No. 65). The defendant previously sought review from Judge

Mullen in December 2004, but was ordered to remain detained. (Doc. No. 288: Motion at ¶ 3).

       Upon review of the record,1 even in a light most favorable to the defendant, the Court

finds the circumstances alleged by the defendant are insufficient for this Court to alter the Order

of Detention, particularly considering the magistrate judge's finding that the defendant has

previously been convicted of a drug felony and faces 20 years to life imprisonment (Doc. No. 65).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




       1
         The Court has considered letters submitted by the defendant directly to the Court which
will be filed as part of the record in this case.


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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.




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                       Signed: September 27, 2005




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